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 1
 2                        IN THE UNITED STATES DISTRICT COURT
 3                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 4
 5   UNITED STATES OF AMERICA,                  CASE NO. CR F 10-0211 LJO
                                                (NEW CASE NO. CR F 11-354 LJO)
 6                      Plaintiff,
 7         vs.
                                                ORDER TO CONSOLIDATE
 8   SHAWN MICHAEL CAMERON, et al.,
 9                      Defendants.
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11
12   UNITED STATES OF AMERICA,                  CASE NO. CR F 10-0346 LJO
                                                (NEW CASE NO. CR F 11-354 LJO)
13                      Plaintiff,
14         vs.
                                                ORDER TO CONSOLIDATE
15   MARTIN MARTINEZ, et al.,
16                      Defendants.
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     UNITED STATES OF AMERICA,                  CASE NO. CR F 10-0363 LJO
19                                              (NEW CASE NO. CR F 11-354 LJO)
                        Plaintiff,
20
           vs.
21                                              ORDER TO CONSOLIDATE
     FELIPE RAMIREZ, et al.,
22
                        Defendants.
23
24
25   UNITED STATES OF AMERICA,                  CASE NO. CR F 11-0051 LJO
                                                (New CASE NO. CR F 11-354 LJO)
26                      Plaintiff,
27         vs.
                                                ORDER TO CONSOLIDATE
28   ROBERT SALAZAR, et al.,

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          Case 1:11-cr-00354-JLT Document 1 Filed 10/18/11 Page 2 of 2


 1
                              Defendants.
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 3
 4   UNITED STATES OF AMERICA,                               CASE NO. CR F 11-0220 LJO
                                                             (New CASE NO. CR F 11-354 LJO)
 5                            Plaintiff,
 6            vs.
                                                             ORDER TO CONSOLIDATE
 7   JOSE ANTONIO VELEZ, et al.,
 8                            Defendants.
 9                                               /
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              For the reasons stated at the Status Hearing held on October 14, 2011 in Courtroom 3, with all
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     counsel and all parties present, this Court ORDERS the following numbered five cases to be
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     consolidated into one single case:
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     1:10-CR-211
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     1:10-CR-346
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     1:10-CR-363
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     1:11-CR-051
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     1:11-CR-220
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     The clerk of court is DIRECTED to open a new case, Case No. CR F 11-354, and to consolidate these
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     five actions into the new case. The clerk of court is DIRECTED to file a copy of this order in each of
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     the above-captioned actions. All future filings shall bear the new case number: CR F 11-354 LJO.
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     IT IS SO ORDERED.
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     Dated:         October 14, 2011                     /s/ Lawrence J. O'Neill
24   b9ed48                                          UNITED STATES DISTRICT JUDGE
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